         Case 1:21-cr-00161-RBW Document 49 Filed 01/21/22 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
v.                                            :
                                              :      Case No: 21-CR-161 RBW
                                              :
DUSTIN THOMPSON,                              :
                                              :
Defendant.                                    :


     UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION TO APPOINT U.S.
                 MARSHALS SERVICE AS PROCESS SERVER

         The United States of America, by and through undersigned counsel, files this

 response to defendant Dustin Thompson’s motion to appoint the U.S. Marshals Service as

 the process server for subpoenas issued under Federal Rule of Criminal Procedure 17.

         The defendant’s motion should be denied because it does not explain why the U.S.

 Marshals should be ordered to serve his subpoenas, when he can have a process server serve

 them instead. In criminal cases, the U.S. Marshals Service typically “serves subpoenas for

 the government and for defendants of Public Defendants or Criminal Justice Act (CJA)

 court-appointed attorneys, if so ordered by the Court.” See U.S. Marshals Service, Public

 Defender’s       Handbook:        Subpoenas       (accessed        January     18,        2022),

 https://www.usmarshals.gov/prisoner/pdhandbooka.htm.           For    such   defendants     who

 demonstrate “an inability to pay the witness’s fees and the necessity of the witness’s

 presence for an adequate defense,” the court “must order” the issuance of the defendant’s

 requested subpoena, and the U.S. Marshals sometimes assist in the service of those

 subpoenas. Fed. R. Crim. P. 17(b); see also LCrR 17.1 (noting that defense counsel can

 receive such subpoenas without court order for local witnesses).

         By contrast, in a case where counsel is privately retained and the defendant is able to
            Case 1:21-cr-00161-RBW Document 49 Filed 01/21/22 Page 2 of 3




    pay the costs of service, the applicable language is found in subsection (d) of Federal Rule

    of Criminal Procedure 17, which states that “[a] marshal, a deputy marshal, or any nonparty

    who is at least 18 years old may serve a subpoena.” Fed. R. Crim. P. 17(d) (emphasis

    added). “The permissive nature of this language,” one district court has observed, “makes

    clear that ordering the U.S. Marshals to serve a subpoena . . . is within the sound discretion

    of the Court.”1 United States v. Bangaroo, No. 3:15-CR-00174, 2017 WL 4778597, at *2

    (M.D. Pa. Oct. 23, 2017). And the court in Bongaroo ultimately concluded that ordering the

    U.S. Marshals to serve a non-indigent defendant’s subpoenas was inappropriate when, inter

    alia, the defendant had “failed to explain how ordering the U.S. Marshals to serve the

    subpoena would materially increase the likelihood of service,” given the defendant’s

    inability to serve the witness using a process server. Id.

           Here, as in Bongaroo, the defendant has a ready alternative to service by the U.S.

    Marshals: service by a process server. At least from his comments after the filing, Mr.

    Thompson’s counsel appears to agree that is at least an alternative option, even if it is not

    Mr. Thompson’s preferred option. See F. Khaled, Capitol Rioter Asks Court to Appoint

    U.S. Marshals to Subpoena Trump and His Allies, Newsweek (Jan 8., 2022),

    https://www.newsweek.com/capitol-rioter-asks-court-appoint-us-marshals-subpoena-trump-

    his-allies-1667201 (Mr. Thompson’s counsel quoted as stating on January 8, 2022 that “one

    option” for privately retained counsel in a criminal case “would be that we can hire a

    process server to chase these folks [Trump and his allies] and if the court declined to

    authorize the marshals to do it, that’s what we’ll have to do”). The defendant has not


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  The court noted that that conclusion was “in particular” true “where Defendant’s counsel has
already had a ‘non-party’ attempt to serve the subpoena.” Bangaroo, 2017 WL 4778597, at
*2.


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            Case 1:21-cr-00161-RBW Document 49 Filed 01/21/22 Page 3 of 3




    alleged that he is unable to afford the costs of a process server. Absent any articulable

    reason why the defendant should not first proceed by attempting to serve any necessary

    witnesses with a process server, the Court should not take the unusual step of ordering that

    the U.S. Marshals serve the subpoena instead.2



                                          Respectfully submitted,

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  The defendant’s motion states that these witnesses were “involved in the planning and
execution of the attempt to disrupt the certification of the 2020 presidential election,” Dkt. 44
at 2, but does not explain how testimony from such witnesses would be relevant to the charges
against this particular defendant. At least for subpoenas served locally and sought by
attorneys appointed under the Criminal Justice Act or who are public defenders, this Court
typically accepts the attorney’s certification that a witness subpoena is necessary to an
adequate defense. See LCrR 17.1. The government, however, reserves the right to file
appropriate motions to preclude defenses, like entrapment by estoppel or public authority, in
this case. The resolution of such a motion may obviate the need for testimony from these
witnesses.

                                                     3
